Case 3:13-cv-00663-MJR-SCW Document 19 Filed 07/31/13 Page iof31 Page ID#52 (7_

UNITED STATES DISTRICT COURT

for the

Southern District of [inois

Case Number: Se CV & (ot, 2 MSR -Qy

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a a IL RIGHTS COMPLAINT
Vv. pursuant to 42 U.S.C. $1983 (State Prisoner)

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Ls 2AZS, Made daector, wien catia CHEPE COMPEAINT

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i. JURISDICTION
Plaintiff: M chnael wi Mer

A. Plaintiff's mailing address, register number, and present place of
confinement.

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teal, PO. ‘Bow 100d, Osler tT] 42259.

Defendant #4 Supple mewsted vN-AAis AMEN a an Com sa

B. Defendant Chal \dacs is employed as

(a) (Name of First Defendant)

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(Position/ Title)

with | [lis “heraohnaal Ch Cprreckous

(c) eee 5 Name and Address)

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Plaintif/Petiiioner(s)

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At the time the claim(s) alleged this complaint arose, was Defendant #1

employed by the state, local, or federal government? Yes [No

If your answer is YES, briefly explain:

(Rev,a/2010)
Case 3:13-cv-00663-MJR-SCW Document 19 Filed 07/31/13 Page 2 of 31 Page ID #53

Defendant #2: Lupo ole pneu eda) Hy iS crataded Cooflasyly ,
eS Defendant Exe Riser is emploved as

(Name of Second Defendant)

Corre ows [ie dee aot

(Position/ Title)

with Ti LNOLS Defark meat OF Conroe Hous

(Employer's Name and Address)

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At the time the claim(s) alleged in this complaint arose, was Defendant #2
employed by the state, local, or federal government? MY Yes O No

If you answer is YES, briefly explain:

TAC Stele hoperyy ,

Additional Defendant(s) (if any):

D. Using the outline set forth above, identify any additional Defendant(s).

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(Rey, 7/2010) a
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C. Defendant = hy ul 58 1s employed as
. (Name of Second Defendant) , ows
ee PT at asst i prteel alten
(Position/Title) _ ~
with Lj luodis Dhagartoe et ee Coettws
(Employer's Name and Address)

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At the time the claim(s) alleged in this complaint arose, was the defendant caphyed by the
state, local or federal government?

Yes (A No ()

If your answer is “yes", briefly explain:

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D. Using the outline of the form provided, include the above information for any additional
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Or

Were,
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A, Have you begun any other lawsuits in state or federal court relating to your imprisonment?
Yes % No ( )
B. If your answer to "A" is "yes", describe the lawsuit(s) in the space below. (If there is more

than one (1) lawsuit, you must describe the additional lawsuits on another sheet of paper,

using the same outline.) Failure to comply with this provision may result in summary
denial of your complaint.
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lL. Parties to previous lawsuits: =, 5
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x. Court (if Federal Court, name the District; if State Court, name the County)
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3. Docket numbers 17 Cy 1261, |Scvz3, izev 24, 3c 25, y3cy 2413 CV Wi Say acHheRy
4. Name of Judge to whom case was assigned _

 

5, Type of case (for example: Was it a Habeas Corpus onC TAR Rights action? ghts action?)

 

 

6. Disposition of case (for example: Was the case dismissed? Was it appealed? Is it
still pending?)
R suds a
7. Approximate date of filing bans: “hud = 2013

 

\ _
8. Approximate date of disposition De My Wh
\ J

GRIEVANCE PROCEDURE

A.

B.

Is there a prisoner grievance procedure in the institution? ve S

Did you present the facts relating to your complaint in the prisoner grievance procedure?

Yes §Q No ( )

If your answer is “yes”, a

1. What steps did you take? _! Sled asatal ak re) AchtWarsres uncer
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Lf your answer is "no" , explain why not. _4 he ry Aelt Pobny a redor st

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5 If there is no pnsoner grievance procedure in the institution, did you complaint to prison
authorities? Yes ¥) No ( )

Fr If your answer is “yes”,
\. What steps did you take? Ee authare A oat Maal lea letlers te depubysts
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G. Lf your answer is "no", explain why not. ad Re

      

 

 

 

 

H. Attach copies of your request for an administrative remedy and the response(s) you received.

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If you cannot do so, explain why not:

 

 

 

IV. STATEMENT OF CLAIM

State here, as briefly as possible. the FACTS of your case. State who, what, when, where and how
you feel your constitutional nghts were violated. Do not cite cases or statutes. If you choose to submit
legal arguments or citations, you must do so in a separate memorandum of law. If you intend to allege
a number of related claims, number and set forth each claim in a separate paragraph. If your claims

relate to prison disciplinary procecdings, attach copies of the disciplinary charges and any
disciplinary hearing summary as exhibits.

nly two (2) extra papes (8% x 11") are permitted, if necessary, to complete your statement of
claim. Additionally, attach any relevant, supporting documentation.

 

 

    

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V. REQUEST FOR RELIEF

State exactly what you want the Court to do for you. If you area state or federal prisoner, and seek

relief which affects the fact or duration of your imprisonment (for example: illegal detention,

restoration of good tume, expungement of records or parole release), you must file your claim on a
37) Habeas Corpus form, pursuant to 28 U.S.C. §2254, 28 U.S.C. §2255, or 28 U.S.C. §2241.

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The plaintiff does pl does not L] request atrial by jury, (See Fed.R.Civ-P. 38.)

DECLARATION UNDER FEDERAL RULE OF CIVIL PROCEDURE 11

I, the undersigned, certify to the best of my knowledge, information, and belief, that this complaint is in full
compliance with Rule 11(a) and 11(b) of the Federal Rules of Civil Procedure. The undersigned also
recognizes that failure to comply with Rule 11 (a) and (b) may result in sanctions, monetary or non-monetary,
pursuant to Federal Rule of Civil Procedure 11(c).

The plaintiff hereby requests the Court issue all appropriate service and/or notices to the defendant(s),

Signed this | aay of 2 oe 20)3.
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Signature of Plaintiff

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~ Signature of attormey, if any
Case 3:13-cv-00663-MJR-SCW Document 19 Filed 07/31/13 Page 14 of 31-Paye ID#65 /- 9
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[Hinois Department of Corrections
i MEDICAL PERMIT
Lawrence Correctional Center

Offender Name: | )icinwe DAichae J Offender Number: 15230935

 

 

Housing Unit: — Any
New Order Renewal
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Low Bunk - Per Physician Orders the above named inmate is to have
Low Gallery - a low bunk/low gallery due to his medical conditions.
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MD; _— Date: 4latli3

 

 

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C) Clothing
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Case 3:13-cv-00663-MJR-SCW Document 19 Filed 07/31/13 Page 15 of 31 Page ID #66

 

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Mlosis Department of Corrections i

HUNGER STRIKE RECORD i
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LAWRENCE CORRECTIONAL CENTER
oo Offender’s Name and Number: iden ieee B36 S Housing Unit Assignment: aes Qt 7. 3
Placement in Non-Disciplinary Controlled Housing: _ S a4. CleZ
Date/Time of Declaration: Y-7723_ / - pw Date/Ti ime of Termination: n 28- \3 7 fo ef
Declaration Notifleation:- ' Date. —~ Notified By
Warden/Duty Warden: | 42213 vate pe | Ly shag. .
‘Regularly Scheduled Meals: Record Date and Time - |
1* Refusal_ 4-275 Ly p 2 Refusal 4.283/sfn 3™ Refusal
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STEVE PACEY, CIRCUIT JUDGE
; Forp CouNTY COURTHOUSE

200 WEST STATE STREET

PAXTON, ILLINOIS GOSS7

 

 
 

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Michael Widmer #B30985

P.O. Box 1000
Menard, IL 62259

LEGAL MAIL

Case 3:13-cv-00663-MJR-SCW Document 19 Filed 07/31/13 Page 16 of 31 Page ID #67

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Menard, IL 62259

 

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Michael } f- Zopf
ATTORNEY AT LAW

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MR. MICHAEL WIDMER
INMATE B30985

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HLICHTER, BOGARD & DENTON, LLP

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Artorneys at Law 2 NaN Se
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SCHLICHTER, BOGARD & DENTON, LLP

ATTORNEYS AT Law

Troy A. DOLES 1} SOUTH FOURTH STREET, SUITE 900 Minois Office
ST. LOUIS, MISSOURI 63102 HELLER wee eee
tdoles@uselaws.com (314) 621-6115
FAX (314) 621-7151 W638) 632-9929
Www. uselaws.com

July 11, 2013

Via Email Communication and Regular Mail

Jennifer Marie Lutzke

Adam G. Eisenstein, Esq.
Assistant Attorney General
Office of the Attorney General
500 South Second Street
Springfield, IL 62706

Re: Widmer v. Martin, Case No. 12-cv-1261
Widmer v. Bayler, Case No. 13-cv-23
Widmer v. Shehorn, Case No. 13-cy-24
Widmer v. Hodge, Case No. 13-cv-25
Widmer v. Hoskinson, et al., Case No. 13-cv-26

Dear Counsel.

As you know, this law firm represents Mr. Widmer (B30985) in the above-referenced matters.
According to our client, several pieces of mail from this office to Mr. Widmer have arrived either
open or severely torn. This office has sent several communications and written correspondence to
Mr. Widmer. These communications were clearly marked “LEGAL MAIL —
ATTORNEY/CLIENT PRIVILEGED COMMUNICATION” and contained privileged
communications. As we are sure you will understand, we are greatly disturbed to hear from our
client that these communications are apparently being opened outside of Mr. Widmer’s presence.
For your reference, Mr. Widmer is presently located at Menard Correctional in Menard, Illinois.
Piease take immediate action to ensure that any and ali maii (outgoing and incoming) properly
designated as “Legal Mail” is not opened or otherwise disturbed by anyone other than Mr.
Widmer. Please acknowledge your receipt of this communication and please advise by no later
than July 17, 2013, what actions have been taken to investigate this issue and to ensure that Mr.
Widmer’s “Legal Mail” is not improperly opened or disturbed. Without further information and/or
action, we will have no choice but to seek relief from the Court.

On a related matter, we have also learned from Mr. Widmer that his attempt to file an additional
case in the Southern District of Illinois regarding his treatment at Menard is apparently being
thwarted by Menard officers and/or employees. In particular, it is our understanding that any new
lawsuit must be forwarded to Mr. John Bramel of Menard for electronic filing and/or processing. It
is further our understanding that this additional case, despite at least two attempts by Mr. Widmer
Case 3:13-cv-00663-MJR-SCW Document 19 Filed 07/31/13 Page 27 of 31 Page ID #78. B i
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SCHLICHTER, BOGARD & DENTON, LLP ay
ATTORNEYS AT LAW
Ilinois A.G.
July 11, 2013
Page 2

since approximately June 24, has not been filed or otherwise processed by Mr. Bramel. Although
we do not represent Mr. Widmer in this new case, we would appreciate your assistance in
resolving this issue. Again, please advise by July 17, 2013, what if anything you have learned on

this issue,

Sincerely,

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Troy A. Doles
Case 3:13-cv-00663-MJR-SCW Document 19 Filed 07/31/13 Page 28 of 31 Page ID#79 &

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20 ILLINOIS ADMINISTRATIVE

  

\) A shower and shave no less than once per week.

2) State issued toilet tissue, soap, towel, toothbrush, and toothpaste for daily
use if the offender has insufficient commissary funds to purchase these
items.

3) A weekly exchange of clean institutional clothes or availability of laundry
services at least weekly.

4) False teeth, eye glasses, and other essential items of personal hygiene and
health shall be permitted unless they are a threat to safety or security.

h) Offenders in segregation status shall be permitted personal property as approved
by the Chief Administrative Officer except for property prohibited by 20 Ill. Adm.
Code 535.

i) Commissary privileges comparable to those applicable to the general population
shall be allowed, according to grade (Section 504.130), except for restrictions on
certain items which may be ordered by the Chief Administrative Officer for safety
and security reasons or for other legitimate penological reasons.

j) Persons in segregation status shall receive nutritionally adequate food.
k) Visits shall be permitted in accordance with 20 Ill. Adm. Code 525.Subpart A.

1) Medical personnel shall visit the segregation unit daily to screen requests for

medical attention, and a physician shall visit the unit ona weekly basis

m) A chaplain designated by the Chief Administrative Officer shall visit the
segregation area on a daily basis when a chaplain is present on institutional

grounds, when possible, but not less than once a week,

a) Each offender in segregation status shall be contacted by a correctional counselor \
at least once every 30 days. \

0) Continued involvement in programs may be permitted on an individual basis on
approval of the Chief Administrative Officer.

p) Offenders shall be afforded the opportunity for exercise outside their cells in.

accordance with Section 304.670.

q) Offenders who are not in "C" grade shall be permitted to make one collect
telephone call per month for a period of no more than 15 minutes.

 
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20 AD

 

SUBCHAPTERe
r) Offenders in segregation status shall have the same. mail privileges as those
provided for persons in the general population (20 Ill. Adm. Code 525.Subpart B).
s) Offenders in segregation status shall be permitted reading materials and shall have

access to materials from the facility library and legal library. Physical access to
the library need not be provided.

t) Any equipment, personal property, or material provided or allowed in the cell of
an offender in segregation status, in accordance with this Subpart, may be
removed or restricted as approved by the Chief Administrative Officer if the
offender destroys, damages, or abuses it in a manner that jeopardizes the safety of
any person or the facility or disrupts institutional safety or order.

(Source: Amended at 27 Ill. Reg. 6214, effective May 1, 2003)
Section 504.630 Investigative Confinement

Offenders placed in confinement pending completion of an investigation shall be provided with
the same conditions and services as those required for the segregation area.

(Source: Amended at 27 IIL Reg. 6214, effective May 1, 2003)

 

 

(Source: Repealed at 22 Ill. Reg. 1206, effective January 1, 1998)
Section 504.660 Administrative Detention

Administrative detention is a nondisciplinary status of confinement which removes an offender
from general population or restricts the individual's access to general population.

a) The Chief Administrative Officer may, with the approval of the Director, Deputy
Director, or Assistant Deputy Director, place an offender in administrative
detention for up to 90 days.

d) In determining whether to place an offender in administrative detention, the Chief
Administrative Officer may consider, among other matters:

1) The seriousness of the offense;

2) The safety and security of the facility or any person;

 
Case 3:13-cv-00663-MJR-SCW Document 19 Filed 07/31/13 Page 30 of 31 Page’

   
     
   
    
   

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a Pat Quinn
linois Governor
Department of Se adie
Corrections Director

  
    

Menard Correctional Center / P.O. Box 711 / Menard, IL 62259-9998 | Telephone: (618) 826-5071 / TDD: (800) 526-og44

MEMORANDUM
pate: 7-/0-/3

TO: Widmer &- SOTES He: Ko

FROM: ADJUSTMENT COMMITTEE

SUBJECT: SEGREGATION TIME CUT

In response to your request to be reviewed for a reduction in your segregation term, please be
advised that you have been reviewed and were approved / d d at this time based on the

following reason(s)
Nature of offense. 2 COMMENTS

 

 

 

Poor adjustment.

Adaitional observation needed.-
Recent inmate disciplinary report. -
History of aggressiveness.

Investigation.

Proper Discipline was administered. / n
wo | CONCUR e4 A leds

Adjustment Committee Chairman

|DO NOT CONCUR— Recommendation

 

 

 

 

MO AD

Chief Administrative Officer
Menard Correctional Center

 
Case 3:13-cv-00663-MJR-SCW Document 19 Filed 07/31/13 Page 31 of 31 Page ID #82

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BY Sloss

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Offender Signature ab. thie [i OS Nv) Ud D# !

Witness Signature

cents charged to my trust fund

account, for the purpose of

 

C1 Approved Not Approved Chlef Administrative Officer Signature

 

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DOC 0208 (Eff. 1/2006 )

Distribution: Businass Office, Offender, Mall Room
(Replaces DC 828)

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